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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 20-cv-21108-UU

 MARTA REYES, LAWRENCE WOOD,
 STEPHEN CLYNE,
 and THE PITCHING LAB d/b/a
 TBT TRAINING
 on behalf of themselves, and all those
 similarly situated,

        Plaintiffs,

 v.

 PEOPLE’S REPUBLIC OF CHINA;
 NATIONAL HEALTH COMMISSION
 OF THE PEOPLE’S
 REPUBLIC OF CHINA;
 MINISTRY OF EMERGENCY MANAGEMENT
 OF THE PEOPLE’S REPUBLIC OF CHINA;
 MINISTRY OF CIVIL AFFAIRS OF THE
 PEOPLE’S REPUBLIC OF CHINA;
 THE PEOPLE’S GOVERNMENT OF HUBEI
 PROVINCE; and THE PEOPLE’S GOVERNMENT
 OF CITY OF WUHAN, CHINA.

       Defendants.
 __________________________________________/

                                               ORDER

        THIS CAUSE comes before the Court on Plaintiffs’ Motion for an Extension of Time to

 Comply with the Court’s Order Setting Initial Planning and Scheduling Conference. D.E. 9. The

 Court having considered the motion and being otherwise advised in the premises, it is

        ORDERED AND ADJUDGED that Plaintiffs’ Motion for an Extension of Time is granted.

 Plaintiffs shall have until sixty (60) days after initiating service on Defendants or until August 31,

 2020, whichever is sooner, within which to file their Joint Scheduling Report and otherwise

 comply with the Order Setting Initial Planning and Scheduling Conference. It is further
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        ORDERED AND ADJUDGED that the Plaintiffs SHALL file a status report with the Court

 every fifteen (15) days to keep the Court informed of its service efforts. It is further

        ORDERED AND ADJUDGED that the Initial Planning and Scheduling Conference in this

 matter is hereby re-set to Friday, September 4, 2020 at 9:30 AM.

        DONE AND ORDERED in Chambers, Miami, Florida, this _23d_ day of April, 2020.



                                                __________________________________
                                                URSULA UNGARO
                                                UNITED STATES DISTRICT JUDGE
 Copies furnished:
 All counsel of record
